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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC
           Plaintiff,

        v.                                                    Case No. 2:24-cv-00046-JRG-RSP

 WONDERSHARE TECHNOLOGY GROUP CO.
 LTD.

                Defendant.


             NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANT
                WONDERSHARE TECHNOLOGY GROUP CO LTD.

       The undersigned attorney, Darlene F. Ghavimi, hereby enters a Notice of Appearance as

counsel of record on behalf of Defendant, Wondershare Technology Group CO LTD., in this

case and is authorized to receive service of all pleadings, notices, orders and other papers in the

above referenced captioned matter on behalf of the aforementioned parties.



Dated: February 20, 2024                              Respectfully submitted,

                                                      /s/ Darlene F. Ghavimi______
                                                      Darlene F. Ghavimi
                                                      TX Bar No. 24072114
                                                      K&L GATES LLP
                                                      2801 Via Fortuna, Suite #650
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                                                      Darlene.Ghavimi@klgates.com

                                                      ATTORNEY FOR DEFENDANT
                                                      WONDERSHARE TECHNOLOGY
                                                      GROUP CO LTD.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

was filed electronically via the Court’s CM/ECF filing system. Therefore, this document was

served on all counsel who are deemed to have consented to electronic service on this the 20th day

of February, 2024.

                                                    /s/ Darlene F. Ghavimi
                                                    Darlene F. Ghavimi




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